Case 1:18-CV-Ol786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 1 of 13 Page|D #: 6

EXHIBIT A

(State Court Record: Complaint, Sumrnons,
WG Appearance and RH Appearance)

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 2 of 13 Page|D #: 7

73C01 -1805-PL-000021 Filed: sla/2018 4:00 PM
Vicki Frank|in
Shelby Circuit Court Clerk

Shelby County, indiana

STATE OF INDIANA ) IN THE SHELBY COURT
) SS:
COUNTY OF SHELBY ) CAUSE NO. 73___,01~1805-PL-

LEE GROUP SHELBYVILLE HOLDlNG
COMPANY, LLC

Plaintiff,
v.

GR.EAT LAKES INSURANCE S E
dba GREAT LAKES INSURANCE,

)
)
)
)
)
)
)
)
)
Defendant. )
C()MPLAINT FOR DAMAGES
COMES NOW the Plaintiff, Lee Group Shelbyville Holding Company, LLC (“Lee Group
Shelbyville Holding”), and for its complaint against the Defendant, Great Lakes Insurance S E
d/b/a Great Lakes Insurance (“Great Lakes”), now states as follows:
NATURE OF LAWSUIT
l. This Complaint arises out ofGreat Lakes’ failure to honor its contractual duty to Lee Group
Shelbyville Holding for its losses incurred in connection With a fire on April 3, 2017.
PARTIES
2. Lee Group Shelbyville Holding is a domestic limited liability company organized in the
State of lndiana With its principal place of business located at 701 Hodell Street,
Shelbyville, lndiana.
3. Lany l. Lee is the Sole member of Lee Group Shelbyville Holding.
4. Great Lakes is an insurance company, domiciled in Gennany, not authorized to do business

in the State of Indiana and, in the policy issued in this matter, service is required on a

representative in the State of New York.

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 3 of 13 Page|D #: 8

_F.AQ_T_§

5. The nature of Lee Group Shelbyville Holding is to possess, operate, maintain, and provide
storage and manufacturing space in a facility it manages at 701 Hodell Street in Shelbyville,
Indiana.

6. On April 3, 2017, a fire substantially destroyed a large portion of the manufacturing space
at the Shelbyville location and other parts of the building and Warehouse space suffered
smoke damage

7. Lee Group Shelbyville Holding submitted a timely claim to Great Lakes on or about
August l, 2017, as a result of the damages it suffered on Aril 3, 2017.

8. Lee Group Shelbyville Holding had a policy of Property and Casualty Insurance issued by
Great Lakes in place at the time of the fire on April 3, 2017, designated policy number
JCOOO3687.

9. Great Lakes has failed and refused to pay the claim of Lee Group Shelbyville Holding.

lS_SllE_

lO. At issue is payment by Great Lakes of the loss suffered by Lee Group Shelbyville Holding
as a result ofthe fire on April 3, 2017.

COUNT l
(BREACH OF CONTACT)

ll. Lee Group Shelbyville Holding incorporates herein by reference paragraphs l through l()
of this Complaint as if fully set forth herein.
12. The damages initially suffered by Lee Group Shelbyville Holding Were approximately

$926,647.

 

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 4 of 13 Page|D #: 9

COUNT II
§BAD FAITH)

13. Lee Group Shelbyville Holding incorporates herein by reference paragraphs 1 through 12
of this Complaint as if fully set forth herein.

14. Great Lakes has wrongfully denied coverage for the losses suffered by Lee Group
Shelbyville Holding.

15. Great Lakes’ delay and denial of coverage constitutes bad faith, oppressive and wrongful
conduct Among other things, Great Lakes had no reasonable justification for its denial of
full coverage

16. Accordingly, Lee Group Shelbyville Holding is entitled to recover from Great Lakes extra-
contractual damages, including Without limitation, incidental and consequential damages
incurred as a result of delay and wrongful failure to pay, compensatory damages flowing
from Great Lakes’ oppressive or wrongful conduct or bad faith, including attorney’s fees
incurred by Lee Group Shelbyville Holding in pursuing coverage in light of Great Lakes’
wrongful denial of coverage, pre-judgment interest, and such other relief as the Court
deems appropriate

17. That in order to restore the building and make it useable for manufacturing space or
Warehousing space, Lee Group Shelbyville Holding has incurred debt by borrowing the
funds necessary to complete the work and is entitled to all fees, costs and interest paid for
said purpose as damages from Great Lakes.

18. Lee Group Shelbyville Holding has lost the use and income from the building due to the
wrongful refusal of Great Lakes to pay the claim of Lee Group Shelbyville Holding of

approximately $10,000 per month.

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 5 of 13 Page|D #: 10

WHEREFORE, the Plaintiff, Lee Group Shelbyville Holding, LLC, prays for judgment
against the Defendant, Great Lakes Insurance S E d/b/a Great Lakes Insurance, for damages
suffered to the building payable under the policy of insurance, incidental and consequential
damages, compensatory damages, damages from loss of use, costs of financing the repairs because
Defendant failed to timely honor the claim, pre-judgment interest, post-judgment interest, attorney

fees, and for all other relief just and proper in the premises

Respectfully submitted,

/s/ Wilmer E. Goering, ll

 

Wilmer E. Goering, ll (#7177-39)
Goering Law LLC

322 Liberty Street

Vevay, lndiana 47043

Phone: (812) 427-2135
wg.goeringlaw@gmail.com
Attorneyfor Plaintiff

DEMAND FOR JURY TRIAL
COMES NOW the Plaintiff, Lee Group Shelbyville Holding, LLC, by counsel, Wilmer E.

Goering, II, and demands a jury trial in this matter.

Respectfully submitted,

/s/ Wilmer E. Goering, ll

 

Wilmer E. Goering, ll (#7177-39)

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 6 of 13 Page|D #: 11

 

. - - , - ’/'r : lia/2018 4:0
73CO1 1805 PL 000021 ,LWZQ,?X,`”?'_§ yr§ F"°d 5 vickiFra:|:i':
Shelby Circuit Court Clerk
She|by County, indiana
STATE OF INDIANA ) IN THE SHELBY COURT
) SS:
COUNTY OF SHELBY ) CAUSE NO. 73__~01-1805-PL-
LEE GROUP SHELBYVILLE HOLDTNG )
COMPANY, LLC )
)
Plaintiff, )
v. )
s . . . ~ )
GREAT LAKES INSURANCE S E )
dba GREAT LAKES INSURANCE, )
. 'h' )
Defendant )
SUMMONS

 

THE STATE OF INDlANA TO THE DEFENDANT:

Mr. Edward Smith
Mendes and Mount

750 Seventh Avenue

New York, NY 10019-6829

You are hereby notified that you have been sued in the court indicated above by the person(s) named as
plaintiff(s).

The nature of this suit against you is stated in the Co))zp/aim>/`o)' Damages, Which is attached to this
summons lt also states the relief sought or the demand made against you by the plaintit`f(s).

An answer or other appropriate response in writing to the Co/np/aintj`or Damnge.s' must be filed either by
you or your attorney within twenty (20) days commencing the day after you receive this summons (or
twenty-three (23) days if this summons was received by inail) or a judgment by default may be rendered
against you for the relief demanded by Comp[az')zzfo/' Da)izages plaintiff(s) in the petition.

lf you have a claim for relief against the plaintiff(s) arising from the same transaction or occun'ence, you
must assert it in your written answer.

DATE; 5/9/2018 \/i:¢_lQ “@ GNAWW

Clerl< of Shelby County, lndiana

 

 
  

(The_/o//owi)ig manner of service ofSum/no)is is hereby clesignateci'.`)

 

X Registered or certified mail (BY A'l`TORNEY F`OR PLAINTIFF)
Service at place of employmcnt, to-wit:
Service on individual (personal or copy) at above address
Service on agent (Specify)
Other service (Specify)

 

Atterney for Plaintiff: Wilmer E. Goering, ll
1 Addrcss; GOERING hAW LLC, 322 Liberty Street, Vevay, indiana 47043 - Telephone; (812) 427-2135

 

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 7 of 13 Page|D #: 12

RECEWED

MAY 21 2018

M. & M`, t_t_P
Answerecl FlLE

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 8 of 13 Page|D #: 13

CLERK’S CERTIFlCATE OF MAlLlNG

l hereby certify that on the day of , 2018, l mailed a copy of this
Summons, along with the E-F/'/l`ng Ap])ea/'r//ice by .»4tfbrne_i’ in Civi/ Cuse and Complaiul_/i)r Dcz)mlges. to
the above-named defendant(s), , by mail, requesting a return receipt at the

address furnished by the plaintiff(s).

DATE:

 

Clerk of Shelby County, Indiana

RETURN ON SERVICE BY MAIL
l hereby certify that the attached return receipt was received by mc showing that:

(l) The Su/i'mzons, along with the E-Fi'/ing /l/)peal‘ance by Alto)'ne)/’ in Civ/,`] Case and Cr)))z})/a)'nf_/or
Dcunages, was mailed to above-named defendants(s) was accepted by him or her on

,2018.

(2) The attached return receipt was received by me showing that Szunmous, along with the E-Fi!ing
/l})pearu)icc by AIto/‘nev in Civ/'/ Ca.s'e and Complaim‘jbr Damages, WaS mailed to the above-named

del"endant(s) was accepted by on behalf of him or her on , 2018.

(3) The attached return receipt was received by me showing that the Sw'mno)zs, along with the E-Fi/ing
A/)/)eam/zce by Atto/'/zej" in C/`vl`/ Case and Com])lai/z[_/i)r Damages, was returned not accepted on

,2018.

 

DA'I`E;

 

Clerk of Shelby County, lndiana

 

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 9 of 13 Page|D #: 14

SHER\FF’S RETURN ()N SERVICE

l hereby certify that l have served this Snm))zo/rs, along with the E-Fl`lz'ng Appec:rtlnce by Alloruc{v in Ci`w`l

Cczse and Com/)/ainzjor Damages, on the day of , 2018.

(l) By delivering a copy of the Sumnzo)is, along with the E-Fz'/)'ng /lppea)"a)zce by Atto)'/zey in Cz`vil Cclse

and Com])lamt_/`or Damages, to the above-named defendant(s),

(2) By leaving a copy of Summo)is, along with the E-Fz`ling Ap/)ew'ance by Atlorney in Civ/.'l Case and

 

 

Complaint_fbr Da))mges, at , the dwelling place or usual place of
abode of the said defendant(s), with a person of suitable age and
discretion resident therein, namely and mailing by first-class mail a

 

copy of the Summon.\‘, along with the E-Fi/ing Ap/)ea)'mir:e [)_v /lttornc{v fn Cz`w`l Cclse and C())n/i/ainljbr

Darnages, to the last known address of said defendant(s), that address being

 

DATE:

 

Sheriff/Deputy of Shelby County, indiana

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 10 of 13 Page|D #: 15

73CO1~1805-PL-000021 Filed: sla/2018 4:00 PM
Vicki Frank|iri
Shelby Circuit Court Clerk

Shelby County, indiana

STATE OF INDIANA ) IN THE SHELBY COURT
» ) SS:
COUNTY OF SHELBY ) CAUSE NO. 73___01-1805-PL-

LEE GROUP SHELBYVILLE HOLDING
COMPANY, LLC

Plaintiff,
v.

GREAT LAKES INSURANCE S E

)
)
)
)
)
§
dba GREAT LAKEs rNsURANCE, )
)
)

Defendant

E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

l. The party on whose behalf this form is being filed is:
Initiating _”XW Responding Intervening ; and

the undersigned attorney and all attorneys listed on this form now appear in this case for
the following parties:

Lee Group Shelbyville Holding Company, LLC

2. Attorney information for service as required by Trial Rule 5(B)(2) and for case
information as required by Trial Rules 3.1, 77(B) and 86 is as follows:

Wilmer E. Goering, II, Attorney No. 7177-39
GOERING LAW LLC
322 Liberty Street
Vevay, Indiana 47043
Phone: (812) 427-2135
Fax: (812) 427-2139
Email: wg.goeringlaw@gmail.com

Each attorney specified on this Appearance:

(a) certifies that the contact information listed for him/her on the Indiana Supreme
Court Roll of Attorneys is current and accurate as of the date of this Appearance;

(b) acknowledges that all orders, opinions, and notices from the court in this matter
that are served under Trial Rule 86(G) will be sent to the attorney at the email
address(es) specified by the attorney on the Roll of Attorneys regardless of the
contact information listed above for the attorney; and

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 11 of 13 Page|D #: 16

lO.

(c) understands that he/she is solely responsible for keeping his/her Roll of Attonieys
contact information current and accurate

This is a PL type of as defined in Administrative Rule 8(B)(3).

This case involves child support issues: Yes No _MX

This case involves a protection from abuse order, a workplace violence restraining order,
or a no-coritact order: Yes No _X~_ It` yes, the party shall use the following
address for purposes of legal serviee:

Attorney’s address

The Attomey General Cont'identiality Program address (contact the
Attorney General at: l-SOO~SZl-l907 or e~mail address at:
contidential@atg.in.gov)

 

Another address:
This case involves a petition for involuntary commitment Yes No MX_
There are related cases: Yes X No (New Image Mixers, LLC v. Acuity, A

Mutual Insurance Company dba Acuity Insurance under cause number 78C01-1803-
PL-(}OUO]S and Lee’s Ready-Mix & Trucking Inc. dba Lee’s Ready Mix v. Acuity, A
Muzual Insurance Company dba Acuity Insurance under cause number 73C01-1804-
PL-000016)

Additional information required by local rule: N/A
There are other party members: Yes No X

This form has been served on all other parties and a Certz`ficate of Service is attached

Yes No _,_X

Respectfully Subinitted,

/s/ Wilmer E. Goering, ll

 

Wilmer E. Goering, ll
#0007177-39

GOERING LAW LLC

322 Liberty Street

Vevay, lndiana 47043
(812) 427~2135
wg.goeringlaw@gmail_com

*** TO BE SERVED WITH SUMMONS & COMPLAINT***

2

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 12 of 13 Page|D #: 17

Filed: 6I7l2018 12:54 PM
Charies O'Connor
Judge, Circuit Court
Shelby County, |ndiana

STATE OF INDIANA ) IN THE SHELBY COUNTY CIRCUIT COURT
) SS:
CGUNTY OF SHELBY ) CAUSE NO: 73C01-1805-PL-000021

LEE GROUP SHELBYVILLE HOLDING )
COMPANY, LLC, )
)
Plaintiff, )
)
V. )
)
GREAT LAKES INSURANCE S E )
d/b/a GREAT LAKES INSURANCE )
)
Defendant. )

APPEARANCE BY ATTORNEY IN CIVIL CASE
Party Classification: lnitiating ___ Responding __X_ Intervening ____

l. The undersigned attorney and all attorneys listed on this form now appear in this case for
the following party member(s): Great Lakes Insurance S E d/b/a Great Lakes
Insurance

2. Applicable attorney information for services required by Trial Rule 5(B)(2) and for case
information as required by Trial Rules 3.l and 77(B) is as follows:

Name: Rick Hammond Atty Number: 19044-45

Firm: HEPLERBROOM LLC Telephone: 312-230-9100

Address: 30 N. LaSalle Street, Suite 2900 Fax: 312-230-9201
Chicago, IL 60602

Email: rick.hammond@heplerbroom.com

3. There are other party members: Yes ___“ No X

4. If first initiating party filing this case, the clerk is requested to assign this case the
following Case Type under Administrative Rule 8(b)(3): N/A

5. l will accept service by FAX or by e-mail: Yes *_ No X
6. This case involves support issues: Yes ___No X

7. There are related cases: Yes ___ No X

Case 1:18-cV-01786-LSA-DI\/|L Document 1-1 Filed 06/12/18 Page 13 of 13 Page|D #: 18

8. This form has been served on all other parties.
Certiticate of Service is attached: Yes X No __

9. Additional information required by local rule: N/A

/S/ Rick Hammond

Rick Hammond K. Curtis (#19044-45)
HEPLERBROOM LLC

30 N. LaSalle Street, #2900

Chicago, IL 60602

Telephone: 312-230-9100

Fax: 312-230-9201
rick.hammond@heplerbroom.com
Attorney for Defendant, Great Lakes
Insurance S E d/b/a Great Lakes Insurance

CERTIFICATE OF SERVICE

I HEREBY CERTlFY that on June 7, 2018, a true and correct copy of the above and
foregoing Appearance by Attorney in Civil Case, was electronically filed and served upon all
counsel of record in accordance with Indiana’s electronic filing system.

By: /s/ Rick Hammond

